Case 2:23-cv-23226-SDW-CLW           Document 1       Filed 12/19/23     Page 1 of 11 PageID: 1




 Jason B. Lattimore
 The Law Office of
 JASON B. LATTIMORE, ESQ. LLC
 55 Madison Avenue, Suite 400
 Morristown, NJ 07960
 Telephone: (973) 998-7477
 Facsimile: (973) 264-1159
 Jason@Lattimorelaw.com
 Counsel for Plaintiff,
 Tiny Town, LLC


                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 TINY TOWN, LLC,                                       Case No: 2:23-cv- 23226

                Plaintiff,

                v.                                                 COMPLAINT &
                                                                JURY TRIAL DEMAND
 TINY TOWN LLC and SARA SMITH,

                Defendants.




        Plaintiff, Tiny Town, LLC (“Tiny Town PA” or “Plaintiff”), by and through its

 undersigned attorney, hereby complains of Defendants, Tiny Town LLC (“Tiny Town NJ”) and

 Sara Smith (“Smith”) (together “Defendants”), as follows:

                                        THE PARTIES

        1.      Plaintiff Tiny Town PA is a Pennsylvania limited liability company with its

 principal place of business at 533 Janet Ave, Lancaster, Pennsylvania 17601.

        2.      Defendant Tiny Town NJ is a New Jersey limited liability company with its

 principal place of business at 438 Main Street, Metuchen, New Jersey 08840.

        3.      Defendant Sara Smith is an individual residing in Metuchen, New Jersey.
Case 2:23-cv-23226-SDW-CLW              Document 1        Filed 12/19/23     Page 2 of 11 PageID: 2




         4.      At all relevant times, Smith was the sole member of Tiny Town NJ and exercised

 full control over and participated fully in the acts of infringement described in this Complaint.

                                    NATURE OF THE CLAIMS

         5.      This is a trademark infringement action arising out of Defendants’ persistent and

 willful infringement of Plaintiff’s federally registered trademark, TINY TOWN, along with

 Plaintiff’s common law rights in the TINY TOWN trademark. Despite having received two cease-

 and-desist letters informing Defendants of Plaintiff’s trademark rights in the TINY Town mark

 and demanding Defendants cease infringing the mark, Defendants continued their infringing

 conduct without so much as a response, much less any regard for Plaintiff’s trademark rights.

 Plaintiff seeks judgement against Defendants awarding Plaintiff the full scope of relief available

 under the law, including treble damages, disgorgement of profits, attorney fees, punitive damages

 and costs of suit.

                                  JURISDICTION AND VENUE

         6.      This Court has jurisdiction over the claims alleged pursuant to 15 U.S.C. § 1121(a),

 28 U.S.C. § 1338, and 28 U.S.C. § 1331. The Court also has jurisdiction over the claims pursuant

 to 28 U.S.C. § 1367(a) in that the state law claims alleged are so related to the claims over which

 the Court has original jurisdiction that they form part of the same case.

         7.      This Court has personal jurisdiction over Defendants in that Defendants reside in

 this District, do business in this District, and the acts of infringement and unfair competition that

 form the basis for this action occurred or originated in this District.

         8.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (c).




                                                   2
Case 2:23-cv-23226-SDW-CLW              Document 1        Filed 12/19/23      Page 3 of 11 PageID: 3




                                                FACTS

 Plaintiff’s Business and the TINY TOWN Trademark

        9.      Since at least as early as April 2017, Plaintiff has used the trademark TINY TOWN

 in commerce in connection with the services of providing recreational and educational facilities

 for children and hosting social gatherings for children and the sale of associated goods.

        10.     Among other services, Plaintiff provides, and at all relevant times has provided

 under the TINY TOWN trademark, an interactive children’s play place and entertainment center

 featuring individual pretend playhouses such as a salon, a café, a grocery store, a hospital, and

 more. Plaintiff further offers birthday parties, events, and recreation space, and offers numerous

 services associated with party and event hosting, including pizza, photographers, themed parties,

 and balloon work.

        11.     By its extensive use of the Tiny Town mark, along with the high quality of services

 and customer experience Tiny Town PA provides, Plaintiff has built up extensive goodwill in the

 mark, garnering a loyal pool of clientele, notoriety in its area of operation, and a significant social

 media following and online footprint, becoming known for its excellent and distinct services.

        12.     Tiny Town PA is a popular venue for children’s parties and events, with families

 from across the eastern states, including New Jersey, frequently planning events at and visits to

 Tiny Town PA.

        13.     Plaintiff is located in Lancaster, Pennsylvania, and is in the process of expanding

 its locations. Lancaster is a popular destination for tourists, which has helped the business reach

 customers across the United States and has enhanced its notoriety. Customers from all fifty states

 have visited Tiny Town PA, and it has become a must-see location for visitors to Lancaster who

 have young children.


                                                   3
Case 2:23-cv-23226-SDW-CLW             Document 1        Filed 12/19/23      Page 4 of 11 PageID: 4




        14.     Plaintiff’s use of TINY TOWN dates back to late 2014, when Plaintiff conceived

 of its business and began promoting the launch of the business online and elsewhere under the

 TINY TOWN trademark. Plaintiff’s extensive pre-launch promotion of its business created an

 association in the minds of consumers between the TINY TOWN trademark and Plaintiff’s

 services prior to launch of the business.

        15.     Plaintiff opened the doors to Tiny Town PA in April 2017.

        16.     On March 5, 2019, Plaintiff’s marketing agent filed, for Plaintiff’s benefit, the

 application that matured into U.S. Trademark Registration No. 5867079 for TINY TOWN.

        17.     Registration No. 5867079 issued on September 24, 2019, and lists the following

 services: “Educational and entertainment services for children, namely, providing interactive play

 areas, instructional classes in the field of future job education and social gatherings for children;

 [and] Providing recreational areas in the nature of play areas for children.” A copy of the

 registration certificate for the TINY TOWN trademark is attached as Exhibit A.

        18.     In January 2022, the marketing agent assigned to Plaintiff all goodwill, right, title,

 and interest in and to the TINY TOWN trademark registration, including all claims for damages

 by reason of past infringement.

        19.     Plaintiff remains the owner of U.S. Registration No. 5867079 for TINY TOWN, at

 all relevant times was the owner of the registration and the application that preceded it, and at all

 relevant times has been the owner of all common law rights in and to the TINY TOWN trademark

 in connection with Plaintiff’s business.

 Defendants’ Infringing Use of “Tiny Town”

        20.     Defendants operate a children’s play place and entertainment center that, like Tiny

 Town PA, features individual pretend playhouses, including a grocery store, a diner, and a

                                                  4
Case 2:23-cv-23226-SDW-CLW              Document 1        Filed 12/19/23    Page 5 of 11 PageID: 5




 veterinarian’s office. And like Tiny Town PA, they also offer party and event services, such as

 hosting, supplying pizza, balloon work, and themed parties.

        21.     Defendants began using “Tiny Town” in connection with their business no earlier

 than August 2019.

        22.     Defendants infringe Plaintiff’s rights in the TINY TOWN trademark in numerous

 ways, including but not limited to: using “Tiny Town” on the doors of their business and in the

 promotional materials for the business, using the name Tiny Town in the business’s logo,

 registering and using the domain name https://www.tinytownnj.com/, and using the name Tiny

 Town on their business’s website, social media accounts, and generally online.

        23.     On February 16, 2022, upon learning of Defendants’ infringement of the TINY

 TOWN trademark, Plaintiff sent a cease-and-desist letter to Defendants demanding they cease their

 infringing activity and desist from future infringement. A true and correct copy of the first cease-

 and-desist letter is attached hereto as Exhibit B.

        24.     Defendants ignored the February 16, 2022, cease and desist letter.

        25.     Plaintiff sent a second cease and desist letter to Defendants dated April 5, 2022. A

 true and correct copy of the second cease-and-desist letter is attached as Exhibit C.

        26.     Defendants also ignored the second letter.

        27.     On information and belief, at the time Defendants began their infringing use of

 “Tiny Town,” Defendants were aware of Plaintiff’s use of the TINY TOWN trademark and of

 Plaintiff’s business and the services Tiny Town PA offered.

        28.      Defendants use of “Tiny Town” is in direct contravention of Plaintiff’s federal

 trademark rights and is likely to cause confusion among consumers as to source or affiliation with

 respect to Defendants’ services relative to Plaintiff’s services.

                                                      5
Case 2:23-cv-23226-SDW-CLW              Document 1         Filed 12/19/23      Page 6 of 11 PageID: 6




           29.   The parties’ respective trademarks are identical.

           30.   The parties use “Tiny Town” on identical and closely related services.

           31.   There is a high likelihood that consumers confronted with Tiny Town PA’s and

 Tiny Town NJ’s respective businesses, which both operate under “Tiny Town” and have

 overlapping business models and themes, and nearly identical services, would believe the two

 businesses, along with their services, are affiliated, connected or associated, or have common

 ownership.

           32.    Defendants are and at all relevant times have been aware of the likelihood of

 confusion between the parties’ respective businesses, yet willfully and knowingly infringed and

 continue to infringe Plaintiff’s TINY TOWN trademark. Defendants have recklessly, willfully,

 and intentionally violated Plaintiffs' trademark rights with the deliberate intention of trading on

 the valuable goodwill and reputation established in the Marks.

           33.   Plaintiff’s TINY TOWN trademark is and at all relevant times has been a valid and

 subsisting trademark in full force and effect.

           34.   Plaintiff has not authorized Defendants to use “Tiny Town” in any regard.

                                             COUNT I
                               Infringement of a Federally Registered
                                  Trademark - 15 U.S.C. § 1114(1)

           35.   Plaintiff restates and realleges the allegations of paragraphs 1-34 as if fully set forth

 herein.

           36.   Defendants’ wrongful and unauthorized exploitation of the TINY TOWN

 trademark, including by selling and offering their services under that mark, constitutes direct

 infringement of a federally registered trademark.




                                                    6
Case 2:23-cv-23226-SDW-CLW              Document 1         Filed 12/19/23       Page 7 of 11 PageID: 7




           37.   Defendants’ unauthorized use of “Tiny Town” is likely to cause confusion, cause

 mistake, or deceive consumers, because it suggests that Defendants’ services are sponsored by,

 affiliated with, authorized by, or otherwise connected with or come from Plaintiff when, in fact,

 they are not and do not.

           38.   Defendants’ infringement has caused and will continue to cause substantial and

 irreparably injury to the public and to Plaintiff’s reputation and goodwill.

           39.   Defendants’ infringement was and is willful.

           40.   By such willful acts, Defendants have caused and, unless restrained by the Court,

 will continue to cause serious irreparable injury and damage to Plaintiff and to the goodwill

 associated with Plaintiff’s registered trademark, including diversion of customers and lost profits.

 Further, Defendants will continue to be unjustly enriched by their infringement.

           41.   Plaintiff has no adequate remedy at law.

           42.   Plaintiff will continue to be irreparably harmed unless the Court enters an

 injunction prohibiting Defendants from further engaging in wrongful, infringing acts.

           43.   Plaintiff additionally is entitled to monetary damages, including treble damages and

 disgorgement of profits in amounts to be determined at trial, together with prejudgment and post-

 judgment interest, reasonable attorneys’ fees and costs.

                                         COUNT II
                        Federal Unfair Competition – 15 U.S.C. § 1125(a)

           44.   Plaintiff restates and realleges the allegations of paragraphs 1-43 as if fully set forth

 herein.

           45.   Plaintiff’s TINY TOWN trademark is distinctive and represents the goodwill

 associated with Plaintiff’s longstanding use of the mark, its nation-wide customer base, its

 reputation as a unique venue for children’s recreation and events, and extensive notoriety.
                                                    7
Case 2:23-cv-23226-SDW-CLW               Document 1        Filed 12/19/23      Page 8 of 11 PageID: 8




           46.   Defendants’ unauthorized and willful misuse of “Tiny Town” in commerce

 constitutes use of a name and/or a false or misleading description or representation that is likely to

 cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or association

 of Defendants with Plaintiff, or as to the origin, sponsorship, or approval of Defendants’ services

 with respect to Plaintiff’s services.

           47.   Defendants’ unauthorized use of “Tiny Town” in commerce is and at all relevant

 times has been willful and constitutes unfair competition pursuant to Section 43(a) of the Lanham

 Act, 15 U.S.C. §1125(a).

           48.   By such willful acts, Defendants have caused and, unless restrained by the Court,

 will continue to cause serious irreparable injury and damage to Plaintiff and to the goodwill

 associated with Plaintiff’s use of TINY TOWN, including diversion of customers and lost profits.

 Further, Defendants will continue to be unjustly enriched by their infringement.

           49.   Plaintiff has no adequate remedy at law.

           50.   Plaintiff will continue to be irreparably harmed unless the Court enters an

 injunction prohibiting Defendants from further engaging in such acts of federal unfair competition.

           51.   Plaintiff additionally is entitled to monetary damages, including treble damages and

 disgorgement of profits in amounts to be determined at trial, together with prejudgment and post-

 judgment interest, reasonable attorneys’ fees and costs.


                                          COUNT III
                               Unfair Competition – N.J.S.A. § 56:4-1

           52.   Plaintiff restates and realleges the allegations of paragraphs 1-51 as if fully set forth

 herein.

           53.   Through the acts described above, Defendant has willfully and knowingly engaged

                                                    8
Case 2:23-cv-23226-SDW-CLW              Document 1         Filed 12/19/23      Page 9 of 11 PageID: 9




 in unfair acts or practices and unfair methods of competition.

           54.   Through the foregoing conduct, Defendants have acted in wanton and willful

 disregard of Interlink’s rights such that Plaintiff is entitled to an award of punitive damages.

           55.   Accordingly, Plaintiff is entitled to judgment awarding it preliminary and

 permanent injunctive relief, treble damages, disgorgement of profits, punitive damages, attorney’s

 fees, costs and any other relief the court deems just.


                                         COUNT V
                                 Common Law Unfair Competition

           56.   Plaintiff restates and realleges the allegations of paragraphs 1-55 as if fully set forth

 herein.

           57.   Through the foregoing conduct, Defendants have committed common law unfair

 competition.

           58.   Through the foregoing conduct, Defendants have acted in wanton and willful

 disregard of Interlink’s rights such that Interlink is entitled to an award of punitive damages.

           59.   Accordingly, Plaintiff is entitled to judgment awarding it preliminary and

 permanent injunctive relief, compensatory damages, punitive damages, and any other relief the

 court deems just.


                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:

           I.     That Defendants, their officers, agents, servants, employees, attorneys, privies,

 subsidiaries, divisions, successors and assigns, and all persons and organizations in active concert,

 participation or combination with any of the foregoing be permanently enjoined from directly or

 indirectly:
                                                    9
Case 2:23-cv-23226-SDW-CLW               Document 1        Filed 12/19/23     Page 10 of 11 PageID: 10




                A. Infringing the TINY TOWN trademark or otherwise engaging in any of the acts of

      infringement and unfair competition described herein;

                B. Using “Tiny Town” in connection with the sale, offering for sale, marketing,

      promotion, social media engagement, advertising, invoicing, or any other commercial or

      promotional activity associated with Defendants’ business;

                C. Using any internet domain name that incorporates “Tiny Town.”


          II.      That Plaintiff obtain the following relief:

                A. An accounting and disgorgement of all profits Defendants have gained through

                   offering their services under the infringing “Tiny Town” trademark;

                B. Compensatory damages;

                C. Treble damages;

                D. Reasonable attorneys’ fees and costs;

                E. Punitive damages; and

                F. Any other relief in Interlink’s favor that the court deems just and proper.


                                     DEMAND FOR JURY TRIAL

          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all issues triable by

  jury.


  Dated: December19, 2023                         Respectfully submitted,

                                                  The Law Office of
                                                  JASON B. LATTIMORE, ESQ. LLC

                                                  By s/ Jason B. Lattimore
                                                     Jason B. Lattimore
                                                     55 Madison Avenue, Suite 400
                                                     Morristown, NJ 07960

                                                     10
Case 2:23-cv-23226-SDW-CLW            Document 1        Filed 12/19/23      Page 11 of 11 PageID: 11




                                                    Telephone: (973) 998-7477
                                                    Facsimile: (973) 264-1159
                                                    Counsel for Plaintiff
                                                    Tiny Town, LLC

                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

         Pursuant to Local Civil Rule 11.2, I hereby certify under penalty of perjury that, to the best

  of my knowledge, the matter in controversy is not the subject of any other action pending in any

  other court or of any pending arbitration or administration proceeding.



   Dated: December 19, 2023                       s/ Jason B. Lattimore
                                                  Jason B. Lattimore




                                                  11
